
PER CURIAM.
We affirm the trial court’s imposition without pronouncement of the probation condition that prohibited appellant from visiting “places where controlled substances are unlawfully sold, dispensed or used.” See Zeigler v. State, 647 So.2d 272 (Fla. 4th DCA 1994). However, lack of oral pronouncement requires us to reverse that part of condition k.3 which ordered appellant not to possess, carry or own any weapons without the consent of his probation officer. See Vasquez v. State, 663 So.2d 1343 (Fla. 4th DCA 1995). We remand to the trial court with instructions to correct the probation order consistent herewith.
AFFIRMED IN PART; REVERSED IN PART and REMANDED.
DELL, KLEIN and SHAHOOD, JJ., concur.
